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                            IN THE UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH

   KATE GRANT and KARMANN KASTEN,
   LLC,                                                 PLAINTIFFS’ RESPONSES TO MARY
                                          Plaintiffs,       STREET’S REQUEST FOR
                                                         ADMISSION, INTERROGATORIES,
   vs.                                                  AND REQUESTS FOR PRODUCTION
   KEVIN LONG; MILLCREEK                                        OF DOCUMENTS
   COMMERCIAL PROPERTIES, LLC;
   COLLIERS INTERNATIONAL; BRENT                           Civil No. 2:23-cv-00936-AMA-CMR
   SMITH; SPENCER TAYLOR; BLAKE
   MCDOUGAL; and MARY STREET,                              District Judge Ann Marie McIff Allen
                                         Defendants.
                                                           Magistrate Judge Cecilia M. Romero


         Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, plaintiffs respond to defendant Mary Street’s

Request for Admission, Interrogatories, and Requests for Production of Documents:

                            RESPONSE TO REQUEST FOR ADMISSION

         REQUEST NO. 1: Admit that Mary Street did not make any representations of material

fact to Plaintiffs regarding the Naperville, Illinois Tenant in Common (“Naperville TIC”) interest

purchased by Kate Grant through her LLC Karmen Kasten, LLC, before the purchase was closed.

         RESPONSE: Admit. Plaintiffs admit that Mary Street was not directly involved in the

initial marketing of the Naperville TIC. Plaintiffs admit that the earliest communication between

Mary Street and Plaintiffs is dated March 17, 2021, and marked as Bates nos. DEF 001658 – DEF
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001659.

                                ANSWERS TO INTERROGATORIES

       INTERROGATORY NO. 1: If Plaintiffs denied Request for Admission 1, state every

representation of material fact that Mary Street made to Plaintiffs regarding the Naperville TIC

interest before the Plaintiffs’ purchase of the Naperville TIC interest was closed.

       ANSWER: See Plaintiffs’ response to Request for Admission No. 1.

       INTERROGATORY NO. 2: State the date Plaintiffs first had any communication, verbal

or written, with Mary Street.

       ANSWER: See Plaintiffs’ response to Request for Admission No. 1.

       INTERROGATORY NO. 3: Identify the name, address and telephone number of each

person who communicated material facts regarding the Naperville TIC interest to Plaintiffs before

Plaintiffs’ purchase of their Naperville TIC interest closed and summarize the substance of each

communication.

       ANSWER: Plaintiffs object to this interrogatory because it is overbroad and has already

been answered in Plaintiffs’ initial disclosures and supplemental disclosures. This interrogatory

has also already been answered in Plaintiffs’ responses to Defendants Millcreek Commercial and

Kevin Long’s first set of discovery requests. Notwithstanding the objection, Plaintiffs

reincorporate the allegations brought in the Amended Complaint and any information contained

in Plaintiffs’ initial disclosures, supplemental disclosures, and responses to other defendants’

discovery requests.

            RESPONSES TO REQUEST FOR PRODUCTION OF DOCUMENTS

       REQUEST NO. 1: If Plaintiffs denied Request for Admission 1, produce documents

showing any representations of material fact made by Mary Street to Plaintiffs regarding the

Naperville TIC interest before Plaintiffs’ purchase of the Naperville TIC interest closed.


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       RESPONSE: See Plaintiffs’ response to Request for Admission No. 1.

       REQUEST NO. 2: Produce any documents which show the communications Plaintiffs

summarized in Answer to Interrogatory 3.

       RESPONSE: All responsive documents have been previously produced in Plaintiffs’ initial

disclosures, supplemental disclosures, and responses to other defendants’ discovery requests.

        DATED this 11th day of December, 2024.

                                       CHRISTIANSEN LAW, PLLC


                                      By:           /s/ Stephen K. Christiansen
                                            Stephen K. Christiansen
                                            Randall S. Everett
                                            Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of December, 2024, I caused a true and correct

 copy of the within and preceding document to be served via email on the following.

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                                            /s/ Stephen K. Christiansen




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